      Case 2:19-cv-00098-MHT-GMB Document 5 Filed 02/14/19 Page 1 of 3



                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            MIDDLE DISTRICT OF ALABAMA
                                 NORTHERN DIVISION

GAVIN MCINNES,                               )
                                             )
       Plaintiff,                            )
                                             )
VS.                                          )      CIVIL ACTION NO.
                                             )      2:19-cv-00098-MHT-GMB
THE SOUTHERN POVERTY LAW                     )
CENTER, INC.                                 )
                                             )
       Defendant.                            )

  MOTION TO CONTINUE DEADLINE FOR FILING RESPONSE TO COMPLAINT

       COMES NOW the Southern Poverty Law Center (the SPLC) and files this motion to

continue the deadline from February 26, 2019 to April 6, 2019 for responding to the Plaintiff’s

Complaint. As grounds for the same, the SPLC shows as follows:

       (1)     Defendant agreed to accept service of the Complaint on February 5, 2019, thereby

requiring a responsive pleading to be filed on or before February 26, 2019.

       (2)     The Complaint is sixty-one pages long. It contains more than 300 paragraphs,

allegations about a wide variety of events, and multiple acts of third parties that must be

investigated fully by counsel before responding.

       (3)     The Defamation Count itself alleges that more than ten different SPLC publications

and multiple statements contained therein were defamatory. These multiple allegedly defamatory

statements require investigation and analysis by counsel in connection with an appropriate

responsive pleading.

       (4)     The Complaint presents choice of law issues that relate directly to the SPLC’s

affirmative defenses which must be researched before a fully informed responsive filing may be

provided.
       Case 2:19-cv-00098-MHT-GMB Document 5 Filed 02/14/19 Page 2 of 3



        (5)     In addition, important issues of First Amendment magnitude are at stake in this

litigation. To provide the SPLC a realistic right to dispose of these issues at the earliest stage

possible best protects freedom of speech. See Michel v. NYP Holdings, Inc., 816 F.3d 686, 702 (11th

Cir. 2016) (writing in the motion-to-dismiss context: “[T]here is a powerful interest in ensuring that

free speech is not unduly burdened by the necessity of defending against expensive yet groundless

litigation”).

        (6)     Finally, Rule 12(a), Fed. R. Civ. P., contemplates a sixty-day period for responding

to a Complaint when service is waived under Rule 4(d). While the latter rule sets out a formal

procedure and written request for waiver, the SPLC’s informally agreeing to accept service was

not materially different in effect. Thus, this request, which seeks sixty days to respond to the

Complaint, is in keeping with the spirit of the Federal Rules of Civil Procedure.

        (7)     In short, it is in the interest of judicial efficiency and First Amendment principles

that Defendant be permitted to present full briefing on issues that are due to be dismissed, which

will require the additional time requested.

        (8)     The SPLC has contacted counsel for the Plaintiff regarding this motion and they

have consented to an extension of time up to and including March 13, 2019, but oppose the

extension requested by the Defendant in this motion.

        WHEREFORE, the Movant requests that this Court continue the deadline for filing a

responsive pleading through April 6, 2019.




                                                  2
       Case 2:19-cv-00098-MHT-GMB Document 5 Filed 02/14/19 Page 3 of 3



       Respectfully submitted this 14th day of February, 2019.



                                              s/ Shannon Holliday
                                              Shannon Holliday [ASB-5440-Y77S]
                                              Robert D. Segall [ASB-7354-E68R]
                                              COPELAND, FRANCO, SCREWS & GILL, P.A.
                                              P.O. Box 347
                                              Montgomery, AL 36101-0347
                                              Email: holliday@copelandfranco.com
                                              Email: segall@copelandfranco.com
                                              Attorneys for Defendant Southern Poverty Law
                                              Center


                                CERTIFICATE OF SERVICE

       I hereby certify that on the 14th day of February, 2019, I electronically filed the foregoing
with the Clerk of the Court using the CM/ECF system, which will send notification of such filing
to:

       G. Baron Coleman
       Baron Coleman Law Firm
       P.O. Box 789
       Montgomery, AL 36101-0789

       Ronald D. Coleman (pro hac admission pending)
       Lauren X. Topelsohn (pro hac admission pending)
       Mandelbaum Salsburg PC
       1270 Avenue of the Americas
       Suite 1808
       New York, NY 10020

                                                     s/ Shannon L. Holliday
                                                     Of Counsel




                                                 3
